                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                               No. 5:24-cv-00420-BO


JOHNNY THOMAS ORTIZ II, JIMMIE                        )
GREGORGY ROGERS, JR. and WELDON                       )
MURPHY,                                               )
                                                      )
                         Plaintiffs,                  )
                                                      )
                                 v.                   )     MOTION TO INTERVENE
                                                      )     AS PLAINTIFFS
NORTH CAROLINA STATE BOARD OF                         )
ELECTIONS, ALAN HIRSCH, in his official               )
capacity as Chair of the North Carolina State         )
Board of Elections, JEFF CARMON III, in his           )
official capacity as Member of the North Carolina )
State Board of Elections, STACY EGGERS IV,            )
in his official capacity as Member of the North       )
Carolina State Board of Elections, KEVIN N.           )
LEWIS in his official capacity as Member of the       )
North Carolina State Board of Elections,              )
SIOBHAN O’DUFFY MILLEN in her official                )
capacity as Member of the North Carolina State        )
Board of Elections, and KAREN BRINSON BELL, )
in her official capacity as Executive Director of the )
North Carolina State Board of Elections,              )
                                                      )
                         Defendants.                  )

       Dr. Cornel West, Italo Medelius and the Justice for All Party of North Carolina (“JFA”)

(collectively, “Proposed Intervenors”) seek to participate in the above-captioned lawsuit as

plaintiffs who challenge the constitutionality of North Carolina’s ballot access requirements as

applied to them and enforced by Defendant North Carolina State Board of Elections. As set forth

in the accompanying memorandum of law, Proposed Intervenors are entitled to intervene as a

matter of right pursuant to Fed. R. Civ. P. 24(a). In the alternative, Proposed Intervenors request




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permissive intervention pursuant to Fed. R. Civ. P. 24(b). Proposed Intervenors have conferred,

through counsel, with Plaintiffs, and Plaintiff do not object to the requested relief.

       In accordance with Rule 24(c), the Proposed Intervenors’ Complaint is attached hereto as

Exhibit A.

       WHEREFORE, Proposed Intervenors request that the Court grant them leave to intervene

in the above-captioned matter and to file their Complaint.



Dated: July 29, 2024                                   Respectfully submitted,

                                                       /s/Christopher R Lusby
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                                                       Counsel for Proposed Intervenors
                                                       *Notice of Special Appearance Forthcoming

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                               CERTIFICATE OF SERVICE

     I hereby certify that on July 29, 2024, the foregoing document was filed using the Court’s
CM/ECF system, which will effect service upon all counsel of record.


Dated: July 29, 2024                               /s/Christopher Lusby
                                                   Christopher Lusby




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